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                    United States District Court
                      District of Massachusetts

                                    )
United States of America,           )
                                    )
           v.                       )
                                    )
Gregory Colburn, et al.,            )
                                    )     Criminal Action No.
           Defendants.              )     19-10080-NMG
                                    )
                                    )
                                    )
                                    )



                          MEMORANDUM & ORDER

GORTON, J.

     Defendant Mossimo Giannulli (“Giannulli” or “defendant”)

pled guilty to one count of conspiracy to commit wire and mail

fraud and honest services fraud, in violation of 18 U.S.C.

§ 1349.   He had conspired with William “Rick” Singer and others

to have two of his children fraudulently admitted into the

University of Southern California by falsifying their athletic

credentials and agreeing to pay bribes totaling $500,000.          On

August 21, 2020, this Court sentenced defendant Giannulli to,

inter alia, five months’ imprisonment pursuant to a negotiated

Rule 11(c)(1)(C) plea agreement with the government.

     In light of the COVID-19 pandemic and the conditions

imposed by the Bureau of Prisons (“the BOP”) to prevent its

spread, Giannulli seeks to have this Court modify the remainder

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of his sentence of imprisonment to home confinement.         He is

currently incarcerated at FCI-Lompoc in Lompoc, California and

his projected date of release is in April, 2021.

I.   Background

     On November 19, 2020, Giannulli reported to FCI-Lompoc to

serve his sentence, beginning with the 14-day entry quarantine

required of all incoming inmates pursuant to the BOP’s emergency

COVID-19 response (“entry quarantine”).       He was placed in a

quarantine unit and was granted only limited access to amenities

outside of his cell in order to minimize contact with other

inmates.   Nonetheless, he was still given access to books, mail,

a limited commissary and television.

     His entry quarantine was scheduled to end on December 7,

2020, but on that day several other inmates in his quarantine

unit tested positive for the virus.      Soon thereafter, Giannulli

reported that he was experiencing a headache and the loss of his

sense of smell, both symptoms of COVID-19.       Accordingly, his

entry quarantine was extended for a few more weeks.         On January

13, 2021, after receiving several negative COVID-19 test

results, Giannulli was released to general population in the

FCI-Lompoc minimum security camp (“the camp”) in which he is now

housed.




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     Defendant Giannulli moves, pursuant to 18 U.S.C. § 3582(c),

to modify his sentence to impose home confinement because of the

harsh prison conditions imposed by the BOP to prevent the spread

of COVID-19.   He submits, specifically, that he spent 56 days in

isolation which has placed a significant toll on his mental,

physical and emotional well-being.       He argues that this Court

should extend its reasoning in United States v. MacFarlane, No.

19-cr-10131, Dkt. No. 352 (D. Mass. Apr. 14, 2020) to his case

and find that the time he spent in isolation warrants his

immediate release.

     The government acknowledges that the conditions of

Giannulli’s initial confinement were more onerous than they

would have been but for the pandemic.       Nevertheless, it urges

this Court to deny defendant’s motion for several reasons,

including that 1) the conditions of his confinement were not

unforeseeable at the time he was sentenced, 2) he is neither

sick nor suffering from an underlying health condition that

places him at a higher risk for complications due to COVID-19

and 3) this Court just recently balanced the factors laid out in

18 U.S.C. § 3553(a) and determined that a five-month sentence is

appropriate.




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II.   Motion for Compassionate Release

      A. Legal Standard

      A court may reduce a defendant’s term of imprisonment

pursuant to 18 U.S.C. § 3582(c) only if, after considering the

factors set forth in § 3553(a), the Court finds that there are

“extraordinary and compelling reasons” warranting such a

reduction. § 3582(c)(1)(A)(i).      Such a modification may be made

upon a defendant’s motion only after he has fully exhausted his

administrative remedies. § 3582(c)(1)(A).        Even if all other

requirements are satisfied, a court should grant a motion for

release only in light of other enumerated statutory factors.

Id.; see § 3553(a).

      B. Application

      Giannulli is not entitled to a modification of his sentence

pursuant to 18 U.S.C. § 3582(c)(1)(A) because he has not

demonstrated an “extraordinary and compelling” reason warranting

his release.   Although the Court is cognizant of the onerous

conditions imposed on defendant as a result of the BOP’s

emergency COVID-19 response, he has not established that those

conditions alone demonstrate an “extraordinary and compelling”

reason for his release.

      To the extent Giannulli seeks relief pursuant to § 3582(c)

based on the requirement of his entry quarantine, his argument

is unavailing. See United States v. Lischewski, No. 18-cr-00203,

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2020 WL 6562311, at *1-2 (N.D. Cal. Nov. 9, 2020) (denying the

motion for compassionate release of a defendant who was placed

in 18 days of COVID-related lockdown conditions in which he

allegedly had no access to food or fresh water for 24 hours and

no communication with others); United States v. Stevens, 459 F.

Supp. 3d 478, 487 (W.D.N.Y. 2020) (finding that conditions of

confinement alleged – including lack of visitation, threats and

the unavailability of a proper diabetic diet – do not constitute

extraordinary or compelling reasons for a sentence reduction,

“nor is a motion for reduction the proper avenue to challenge

those alleged conditions”); United States v. Carrera, No. 14-cr-

0367, 2020 WL 7225997, at *4 (N.D. Tex. Dec. 7, 2020) (finding

that prolonged solitary confinement due to positive COVID-19

diagnosis did not warrant compassionate release).         Every

prisoner in a BOP facility is currently subjected to onerous

conditions due to the COVID-19 pandemic and Giannulli “has not

explained why he should be given special or unique treatment”.

Lischewski, 2020 WL 6562311, at *2.

     Furthermore, unlike his co-defendant Toby MacFarlane, the

imposition of an entry quarantine was not unforeseeable when

Giannulli was sentenced in August, 2020. See MacFarlane No. 19-

cr-10131, Dkt. No. 339 (sentencing held on November 13, 2019).

Giannulli was sentenced months into the pandemic, whereas

MacFarlane reported to prison in January, 2020, before the virus

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was a serious threat.    At the time of MacFarlane’s compassionate

release in April, 2020, moreover, there was significant

uncertainty about the virus and how to control it. 1        At this

juncture, on the other hand, there has been substantial

improvement in the treatment of the disease, the BOP itself has

become much more proficient in controlling its spread and

vaccines will soon alleviate remaining concerns. 2

     In any event, although defendant’s quarantine was longer

than anticipated, he has since been released to the general

population and has given no extraordinary or compelling reason

why his current circumstances in the camp warrant immediate

release. See United States v. Ramirez, 459 F. Supp. 3d 333, 338

(D. Mass. 2020) (explaining that compassionate release is an

“extraordinary” remedy which should be applied only in a




1 See, e.g., Press Release, CDC Calls on Americans to Wear Masks
to Prevent COVID-19 Spread, CDC Newsroom (July 14, 2020),
https://www.cdc.gov/media/releases/2020/p0714-americans-to-wear-
masks.html (reporting that there has been more information with
respect to and widespread acceptance of wearing face masks in
public to prevent the spread of COVID-19 in the months after
April, 2020).
2 See FDA Approves Treatment for COVID-19, FDA News Release (Oct.

22, 2020), https://www.fda.gov/news-events/press-
announcements/fda-approves-first-treatment-covid-19; COVID-19
Vaccination Efforts Commended, Federal Bureau of Prisons (Jan.
15, 2021),
https://www.bop.gov/resources/news/20210116_covid_vaccine_effort
s_commended.jsp (reporting that the BOP is distributing the
COVID-19 vaccine to staff and inmates and “has taken swift and
effective action in response to COVID-19 and has emerged as a
correctional leader in the pandemic.”).

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“particularized” situation).     He has not shown, for instance,

that he suffers from any condition which would place him at an

increased risk of severe illness due to COVID-19 nor, indeed,

that he suffers from any particular medical condition.

     Although the Court recognizes the danger associated with

COVID-19 and the particular risk of transmission in penitentiary

facilities, the fear of COVID-19 alone, without more, is

insufficient to warrant release pursuant to § 3582(c).         See

Ramirez, 459 F. Supp. 3d at 337–38 (“[T]he threat of COVID-19

alone is not sufficient to allow release” pursuant to §

3582(c)); United States v. Curtis, No. 14-cr-00140, 2020 U.S.

Dist. LEXIS 102045, at *13 (D. Me. June 11, 2020) (“[T]he mere

existence of COVID-19 in society and the possibility that it may

spread to a particular prison alone cannot independently justify

compassionate release.”).

     Furthermore, this Court just recently considered the

factors laid out in 18 U.S.C. § 3553(a) with respect to Mr.

Giannulli and determined that a 5-month sentence is appropriate

in that it serves, inter alia, to dissuade and deter others who

may, like Giannulli, believe that because they can afford it,

they can flout the law.    Modifying or reducing defendant’s

sentence in this case would undercut any such deterrence.

     Accordingly, this Court will deny defendant’s motion for

compassionate release.    If extenuating circumstances occur in

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the future, the warden can intervene or defendant can file a

renewed motion.

                                 ORDER

     For the foregoing reasons, the motion of defendant Mossimo

Giannulli to modify sentence (Docket No. 1691) is DENIED without

prejudice.

So ordered.


                                    \s\ Nathaniel M. Gorton
                                    Nathaniel M. Gorton
                                    United States District Judge


Dated January 26, 2021




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